Case 21-02097-TPA       Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36           Desc Main
                                  Document     Page 1 of 20



                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:
                                                  Misc. Case No. 15-00204-TPA
  ALL MATTERS RELATED TO NORTH
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.       Chapter 11
  7940
         Debtors


  HONEYWELL INTERNATIONAL INC.,                   Adv. No. 21-2097
                  Plaintiff,
      v.
                                                  Related to Doc. Nos. 241 & 246
  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,
                  Defendant.



           HONEYWELL INTERNATIONAL INC.’S RESPONSE TO THE NARCO
                 SETTLEMENT TRUST’S MOTION TO COMPEL

        Honeywell opposes the NARCO Settlement Trust’s motion to compel. Honeywell has

 made substantial productions to the Trust on all issues germane to the case, including the three

 issues raised in the Trust’s motion. Consistent with the Court’s prior guidance, Honeywell has

 taken a practical approach and agreed to provide the Trust with tens of thousands of documents—

 as well as access to the Bendix database—for approximately 40,000 claimants who sought

 recovery both in Bendix litigation and from the NARCO Trust. The Trust nevertheless seeks

 hundreds of thousands of additional, unnecessary records that go beyond the reasonable scope of

 discovery.   Honeywell has complied with its discovery obligations by any measure of
Case 21-02097-TPA         Doc 250     Filed 02/03/22 Entered 02/03/22 11:29:36            Desc Main
                                     Document     Page 2 of 20



 proportionality, and at this phase of the case, the Trust is simply overreaching and causing

 unnecessary expense and delay. The Trust’s motion should therefore be denied.

                                  PRELIMINARY STATEMENT

         1.      Honeywell has worked cooperatively with the Trust to resolve outstanding

 discovery disputes, and it has produced a significant amount of information responsive to the

 Trust’s requests. In the last two months, Honeywell has produced over 45,000 documents totaling

 over 1.3 million pages, and it has agreed to produce or has produced (i) information concerning

 approximately 40,000 Bendix claims; (ii) backup calculations relating to Dr. Francine Rabinovitz’s

 2006 expert report; and (iii) 55 boxes of post-petition settlement materials. The Trust nevertheless

 continues to seek Bendix data and documents for an additional 210,000 Bendix claimants who

 never filed a claim with the NARCO Trust; all of the internal files of Dr. Rabinovitz, an expert

 who advised Honeywell for years but whose expert report in this matter was issued in 2006; and

 an unspecified number of additional documents concerning Honeywell’s post-petition settlements,

 which are stored in hard copy in over 3,300 boxes located in multiple storage facilities. These

 demands are unduly burdensome and not proportional to the needs of the case, particularly on the

 expedited pre-trial schedule for this litigation.

         2.      Contrary to the Trust’s assertion, Honeywell has not refused to provide access to

 documents and data relating to the Bendix database. It has already produced or offered to provide:

        a downloadable extract of the database for all Bendix claims where the claimant also filed
         a claim with the NARCO Trust, approximately 40,000 in total;
        a document listing the various fields in the database that contain relevant claimant-related
         information;
        the underlying files previously collected for 5,000 of those overlapping claims (totaling
         over 31,000 documents);
        information relating to the process by which Honeywell previously collected those
         underlying files;



                                                     2
Case 21-02097-TPA        Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36                Desc Main
                                   Document     Page 3 of 20



       a set of the digitized litigation-related files for the remaining 35,000 overlapping claims (to
        the extent they are already contained within the database);
       a sampling of non-digitized litigation-related files for the remaining 35,000 overlapping
        claims;
       access via web portal to the Bendix database for all 40,000 overlapping claims; and
       a list of claimants in the ACCLAIM database and related exposure information.

 See Trust Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 2–4); HON Ex. B (1/28/22 R. Anguas Ltr. to

 J. Baio at 4). Despite Honeywell’s willingness to provide all of the above, the Trust insists on

 Honeywell producing information relating to 210,000 additional Bendix claims where the claimant

 never filed a claim with the NARCO Trust.

        3.      Honeywell has also searched for and produced material related to the expert report

 of Dr. Rabinovitz.    As Honeywell has explained to the Trust on numerous occasions, Dr.

 Rabinovitz did not produce or otherwise identify work papers or reliance materials during the

 bankruptcy proceedings more than fifteen years ago, although the report itself includes detailed

 data tables and descriptions of the report’s methodologies. Nor is Dr. Rabinovitz able at present

 to identify any additional reliance materials or non-privileged work papers, given that she is

 unavailable. Nonetheless, in response to the Trust’s document requests, Honeywell conducted a

 reasonable search of the files from Dr. Rabinovitz in its possession, identified backup calculations

 for her report, and produced them to the Trust. At this point—more than fifteen years after the

 report was written and with its author unable to guide us—Honeywell has made a reasonable,

 good-faith effort to produce what it believes were the backup files for that report. The material

 Honeywell has from Dr. Rabinovitz was collected in 2015, nearly ten years after her expert report

 was submitted. There is nothing in these documents that is labeled or otherwise identifiable as

 reliance materials. Nor is this material exclusively related to Dr. Rabinovitz’s expert report; much

 of it pre- or post-dates her report by several years. The Trust never requested in discovery that



                                                  3
Case 21-02097-TPA             Doc 250       Filed 02/03/22 Entered 02/03/22 11:29:36                         Desc Main
                                           Document     Page 4 of 20



 Honeywell produce all the material it collected from Dr. Rabinovitz in 2015. And in any event,

 Dr. Rabinovitz’s report thoroughly identifies the data and assumptions she relied on in estimating

 that the Trust would pay between $550 million to $1.29 billion in future claims on a discounted

 basis.1

           4.      With respect to post-petition settlements, Honeywell has offered to produce to the

 Trust what it requested. These materials relate to mass settlement agreements Honeywell entered

 into with several law firms during the pendency of the bankruptcy, before the Trust even became

 effective. Those agreements provided a process by which the law firms’ clients could submit then-

 current claims for payment. The Trust has the settlement agreements but is now demanding

 individual claim documents submitted as far back as twenty years ago. The documents submitted

 as part of that process are archived in hard copy in 3,354 boxes across multiple third-party storage

 facilities. Those materials are not relevant to this litigation because claims processing for the

 NARCO Trust is governed by the TDP, not these agreements. Nonetheless, on December 17,

 2021, Honeywell offered to produce a sample of this material to the Trust, and it subsequently

 provided both an index of the boxes and a list of their locations. See Trust Ex. 11 (12/24/21 R.

 Powell Ltr. to P. DiSanto at 2); Trust Ex. 13 (1/27/22 R. Powell Ltr. to P. DiSanto at 1). On

 January 18, 2022, the Trust asked Honeywell to scan and produce 55 boxes. HON Ex. A (1/18/22

 P. DiSanto Email to R. Powell). Honeywell is willing to do so. As it explained to the Trust,

 however, Honeywell would in the ordinary course review the material before producing it in

 litigation to determine whether it contains privileged or personal identifiable information. Because




 1
   In its motion, the Trust erroneously states that Dr. Rabinovitz estimated liability at “approximately $2.3 billion” but
 that was only the high end of an undiscounted range; the low end of that undiscounted range was under $1 billion. Dr.
 Rabinovitz also estimated that the range applying an appropriate discount rate was between $0.55 billion and $1.29
 billion.



                                                            4
Case 21-02097-TPA         Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36                Desc Main
                                    Document     Page 5 of 20



 that type of review process is not feasible given the timeframe for this litigation, Honeywell

 proposed that the Trust and Honeywell enter into an agreement under which Honeywell’s privilege

 is not waived and claimants’ personal identifiable information would remain protected. Trust Ex.

 13 (1/27/22 R. Powell Ltr. to P. DiSanto at 2). Rather than agree to that compromise, or even

 meaningfully respond to it, the Trust filed the instant motion.

        5.      Although Honeywell has attempted to resolve these discovery disputes by

 providing or agreeing to provide the Trust with tens of thousands of documents as well as data on

 tens of thousands of Bendix claimants, the Trust continues to press for the full scope of its requests,

 which are overly burdensome, not proportional to the needs of the case, and seek irrelevant

 material. The timing of this motion is also a problem of the Trust’s own making. In some instances

 in December and January, the Trust waited more than two weeks to respond to Honeywell’s

 proposals to address these issues. With respect to the Bendix material, Honeywell has produced

 or agreed to produce a significant amount of material relating to overlapping NARCO/Bendix

 claims, but the Trust continues to press for material relating to claimants that never filed a claim

 with the NARCO Trust. As the Trust is aware, it takes time to collect, review, and produce

 litigation material associated with the Bendix database, which contains privileged and personal

 identifiable information. The Trust nevertheless contends that producing all of the Bendix material

 imposes no burden on Honeywell because the Trust has previously requested that information from

 Honeywell. But the burdens associated with any review for production remain, regardless of

 whether the Trust has previously requested certain information. As for the Trust’s requests for

 additional information relating to Dr. Rabinovitz’s 2006 expert report, Honeywell has explained

 to the Trust that Dr. Rabinovitz did not identify reliance materials when she issued the report in

 2006 and cannot do so now. Honeywell has searched for and produced the identifiable backup




                                                   5
Case 21-02097-TPA         Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36            Desc Main
                                    Document     Page 6 of 20



 calculations and work papers in its possession. To the extent the Trust now demands that

 Honeywell review for production all the material it collected from Dr. Rabinovitz in 2015, that

 request is untimely, overbroad, and not proportional to the needs of the case. The Trust never

 served a discovery request for that material and both parties have largely focused their document

 requests on material from 2016 onward. Further, Honeywell cannot simply turn over these

 documents without a review for privilege. Dr. Rabinovitz was an expert consultant who performed

 work at the direction of counsel for many years, meaning that many of her files are privileged.

 And with respect to post-petition settlements, Honeywell has already agreed to give the Trust what

 it requested. The Trust’s motion is unnecessary and should be denied.

                                          BACKGROUND

        6.      Honeywell agrees that the Trust served Honeywell with requests for production on

 October 5 and November 10, 2021. Honeywell responded to those requests on November 24 and

 December 10, 2021, respectively. Since then, the parties have met and conferred on various

 discovery topics, and they have resolved most of their disagreements. With respect to the three

 issues raised in the Trust’s motion to compel, Honeywell has already produced or agreed to

 produce a significant amount of material in response to the Trust’s requests.

    A. Bendix Materials.

        7.       Honeywell initially objected to the Trust’s sweeping requests for material from the

 Bendix and ACCLAIM databases. Honeywell has since agreed to produce data and documents

 concerning all of the approximately 40,000 Bendix claimants who also submitted claims with the

 NARCO Trust. Beyond that, the additional material from the Bendix database is either irrelevant

 or not proportional to the needs of the case.

        8.      Following guidance from the Court at the December 13, 2021 hearing, Honeywell

 worked cooperatively with the Trust on its requests for Bendix material. Before the deadline for


                                                  6
Case 21-02097-TPA         Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36              Desc Main
                                    Document     Page 7 of 20



 the Trust’s Bendix demand, Honeywell provided the Trust with a detailed description of the scope

 and structure of the Bendix database. See Trust Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 1). It

 also previewed for the Trust its willingness to provide (i) a downloadable extract of all relevant

 fields from the database for overlapping Bendix/NARCO claims; (ii) the underlying files for

 individual claimants that Honeywell previously collected; and (iii) a sample of litigation files for

 additional Bendix plaintiffs that also submitted a claim to the NARCO Trust. Id. at 2. In its

 December 22, 2021 demand, the Trust largely ignored the information Honeywell had provided

 and issued its own sweeping requests for documents and information. Nevertheless, Honeywell

 attempted to be responsive to the Trust’s demand and offered additional information in its January

 5, 2022 response. Specifically, Honeywell:

            offered to produce a list of the fields in the Bendix database;

            explained the process by which Honeywell identified overlapping NARCO/Bendix
             claims;

            agreed to identify and produce other digitized litigation-related materials in the
             database, subject to privilege and PII review;

            offered to provide access to the database for overlapping claims, so long as the Trust
             and its counsel provided information about cybersecurity insurance and protocols given
             the sensitive medical information and PII in these files. (The Trust has not yet provided
             either); and

            answered the Trust’s interrogatory-style questions, including by providing a
             description of the process by which Honeywell collected litigation materials for the
             5,000 claims. See Trust Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 3–4).

        9.      As outlined above, Honeywell did not, as the Trust contends, “refuse[] to produce

 two of the three requested categories of Bendix Materials” in its January 5, 2022 response.

 Honeywell agreed, as the Trust acknowledges, to produce the underlying litigation materials

 previously collected for 5,000 claims; an extract of the database; and a mutually agreeable

 sampling of the underlying litigation materials for the remaining overlapping claims, which



                                                   7
Case 21-02097-TPA         Doc 250     Filed 02/03/22 Entered 02/03/22 11:29:36                Desc Main
                                     Document     Page 8 of 20



 number in the tens of thousands. Trust Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 2). As for the

 ACCLAIM database, Honeywell asked for additional information regarding the Trust’s request

 for access, given that the program is outdated and that Honeywell previously exported ACCLAIM

 data to the Trust. Id. at 5. The Trust provided additional information regarding its request in its

 January 20, 2022 letter, and Honeywell is now producing claimant and exposure information from

 ACCLAIM. See HON Ex. B (1/28/22 R. Anguas Ltr. to J. Baio at 4).

         10.     On January 22, 2022, Honeywell provided the Trust with a detailed extract from

 the Bendix database. HON Ex. C (1/22/22 R. Anguas Ltr. to S. Lombardi at 1). That extract

 includes non-privileged fields in the database that Honeywell uses in the ordinary course and

 believes contain relevant claimant-related data. In its January 5, 2022 response, Honeywell

 described the extract as including all “relevant fields from the database,” except for fields that may

 contain privileged information, work product, or the settlement values for Bendix claims. Trust

 Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 2). By using the term “relevant,” Honeywell meant only

 that it was not including in the extract fields that it does not use in the ordinary course, such as

 system-related fields or internal processing fields. Had the Trust not waited fifteen days to respond

 to Honeywell, or otherwise expressed concern with the term “relevant fields,” Honeywell could

 have corrected the Trust’s misunderstanding—and avoided the need for unnecessary motions

 practice on this issue. Honeywell is willing, however, to provide the Trust with a list of additional

 fields that it does not use in the ordinary course and are not included in the extract. Honeywell is

 also willing to meet and confer with the Trust, to the extent there are particular fields that the Trust

 believes it needs that are not privileged or contain privileged information. The Trust’s remaining

 objections to the database extract are without merit. The settlement values for Bendix claims are

 confidential, commercially sensitive, and irrelevant to the issues in this litigation. And the Trust’s




                                                    8
Case 21-02097-TPA         Doc 250    Filed 02/03/22 Entered 02/03/22 11:29:36               Desc Main
                                    Document     Page 9 of 20



 contention that Honeywell has not yet “committed” to providing access to the database is

 misleading. Because the database contains sensitive information about claimants, Honeywell

 asked the Trust to provide information regarding the Trust’s and its counsel’s cybersecurity

 protocols and insurance. Trust Ex. 9 (1/5/22 R. Anguas Ltr. to J. Baio at 3). In its January 20,

 2022 letter, the Trust agreed to provide at least some of that information, but it has not yet done so

 as of the time of this filing. See Trust Ex. 8 (1/20/22 J. Baio Ltr. to R. Anguas at 2).

        11.     It appears that the parties previously miscommunicated on the Trust’s request, but

 Honeywell intends to provide the Trust with information regarding the process by which it sampled

 approximately 5,000 claims for review. In prior correspondence, Honeywell understood the Trust

 to be asking for a description of the process by which Honeywell collected the underlying litigation

 materials for those claims. Trust Ex. 5 (12/22/21 J. Baio Ltr. to J. Calandra at 2); Trust Ex. 8

 (1/20/22 J. Baio Ltr. to R. Anguas at 3). Honeywell provided a detailed description of that

 collection process in its January 5, 2022 response. In its January 20, 2022 letter, the Trust briefly

 referenced the “process by which [Honeywell] selected the 5,000 claimants for which it has

 digitized files,” but then referred back to its request for additional information about Honeywell’s

 collection process. Trust Ex. 8 (1/20/22 J. Baio Ltr. to R. Anguas at 3 (emphasis modified)). In

 its January 28, 2022 letter, Honeywell asked the Trust to describe what additional information the

 Trust was seeking with respect to that request. Had the Trust corrected Honeywell’s understanding

 in the three weeks since Honeywell served its Bendix response, the parties could have worked to

 resolve the issue without Court intervention. In any event, information about Honeywell’s

 sampling process is expert analysis, which Honeywell intends to provide to the Trust in accordance

 with the schedule for expert disclosures. At that point, the Trust will have the opportunity to

 review the expert report and depose the expert. Setting that aside, the Trust’s need for a description




                                                   9
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                 Desc Main
                                 Document    Page 10 of 20



 of Honeywell’s process now is superfluous: Honeywell has expressed its willingness to provide

 the Trust with access to the database for the full set of 40,000 overlapping claims. That access

 enables the Trust to assess the full universe of overlapping claims and make arguments about

 whether Honeywell’s sampling process was appropriate.

    B. Rabinovitz Materials

        12.       On November 10, 2021, the Trust sought materials relating to Dr. Rabinovitz’s

 2006 expert report. Trust Ex. 2 (11/10/21 Trust’s Second Set of Requests for Production at 11).

 Honeywell objected on December 10, 2021 but offered to meet and confer on those requests. HON

 Ex. D (12/10/21 Honeywell Responses and Objections to Second Set of Requests for Production

 at 3–4). The Trust, however, did not raise the issue until January 7, 2022, nor has it been able to

 identify what material it needs in addition to the detailed assumptions and calculations already

 provided in the 2006 report itself. See Trust Ex. 6 (1/7/22 P. DiSanto Ltr. to R. Powell at 3); Trust

 Ex. 13 (1/27/22 R. Powell Ltr. to P. DiSanto at 2). As Honeywell has explained, the parties to the

 bankruptcy did not produce expert discovery or identify reliance materials. And Dr. Rabinovitz is

 unavailable to identify reliance materials at this time. The material collected from Dr. Rabinovitz

 in 2015 consists of mostly hard-copy documents, and many of those documents appear privileged

 on their face or post-date her report. Despite those issues, Honeywell has produced backup

 calculations related to Dr. Rabinovitz’s 2006 report that it has been able to locate within the

 materials it has collected, which constitute the non-privileged material that Honeywell reasonably

 believes to be responsive to the Trust’s requests. See Trust Ex. 13 (1/27/22 R. Powell Ltr. to P.

 DiSanto at 2).

    C. Post-Petition Materials

        13.       Honeywell agrees that the Trust has sought all documents concerning post-petition

 settlement materials, which, in Honeywell’s view, are peripheral to the issues in this case. As


                                                  10
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                    Desc Main
                                 Document    Page 11 of 20



 Honeywell has told the Trust for years, the post-petition settlement material, which is from as far

 back as twenty years ago, is archived in thousands of boxes at various storage locations, and it

 contains privileged material and sensitive personal information like social security numbers. See,

 e.g., Trust Ex. 11 (12/24/21 R. Powell Ltr. to P. DiSanto at 2).

         14.     In response to the Trust’s request, Honeywell has produced an index of all the

 boxes, a list of their locations, and a small set of files that were previously digitized for insurers.

 Trust Ex. 10 (1/14/22 R. Powell Ltr. to P. DiSanto at 4).

         15.     Although Honeywell continues to believe that the post-petition settlement materials

 are not relevant to the issues in this case, it is also in the process of digitizing the material in the

 55 boxes requested by the Trust on January 18, 2022. Because these files contain privileged and

 personal information, which Honeywell would in the ordinary course review and redact,

 Honeywell asked the Trust to propose an agreement to protect such information and thereby enable

 Honeywell to produce this information as quickly as possible. Trust Ex. 13 (1/27/22 R. Powell

 Ltr. to P. DiSanto at 2). The Trust has not done so and now appears to take the position that the

 Protective Order is sufficient. See Trust Mot. to Compel ¶ 15. It is not. For example, although

 the Protective Order covers the inadvertent production of privileged information, see

 Confidentiality Stipulation and Protective Order ¶ 6.2 (Doc. 123), the Trust is asking Honeywell

 to produce a set of documents—at least some of which Honeywell believes to be privileged—

 without a review for privilege. Honeywell believes a supplemental agreement is necessary given

 that privileged material will likely be produced here.           The Trust’s refusal to consider a

 confidentiality agreement to streamline production of such sensitive material is not reasonable.

                                             ARGUMENT

         16.     Honeywell agrees that a party moving to compel bears the burden of proving the

 relevance of the material it seeks, and that the objecting party bears the burden of demonstrating


                                                   11
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                   Desc Main
                                 Document    Page 12 of 20



 the discovery sought is unduly burdensome or not proportional to the needs of the case. In

 Honeywell’s view, an assessment of the burden and proportionality of discovery requests must

 take into account the case schedule.

    A. Honeywell Has Produced Extensive Information Relating to Bendix Data And
       Documentation.

        17.     In its complaint, Honeywell alleges that the Trust is violating the TDP and the Trust

 Agreement by allowing claims to be paid absent the required exposure evidence. As one way to

 illustrate the Trust’s failure to adhere to the strict standards set out in the TDP, Honeywell provided

 examples where claimants’ exposure evidence was inconsistent with evidence submitted in the tort

 system. By definition, the only claimants that could be identified by Honeywell as submitting

 inconsistent exposure evidence with the NARCO Trust are those that filed a claim with the

 NARCO Trust. Claimants that did not file a claim with the NARCO Trust are irrelevant to the

 question of whether the Trust is paying claims on insufficient evidence.

        18.     Honeywell identified NARCO Trust claims with inconsistent exposure evidence by

 identifying those claimants that submitted claims to both the NARCO Trust and to Bendix. The

 Trust contends that it needs access to “the same information as Honeywell” to “effectively defend

 itself against Honeywell’s accusations.” But Honeywell is offering to provide the Trust access to

 data relating to all 40,000 of the overlapping claims.

        19.     The Trust’s representation that Honeywell “has not provided a straightforward

 answer” to why it will not provide Bendix information is doubly inaccurate: Honeywell has

 provided an extensive amount of Bendix information where it overlaps with the NARCO Trust; to

 the extent Honeywell has not produced in response to certain aspects of the Trust’s requests, it has

 explained in detail why those requests are unduly burdensome, not proportional to the needs of the

 case, and seek irrelevant information.



                                                   12
Case 21-02097-TPA        Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36               Desc Main
                                Document    Page 13 of 20



        20.     Honeywell has not previously expended the resources to identify which Bendix

 claimants among the 210,000 also resolved NARCO claims under post-petition settlements for a

 simple reason: those claimants did not submit a claim to the NARCO Trust and therefore provide

 no insight into whether the Trust is paying claims in compliance with the TDP and the Trust

 Agreement. The Trust bears the burden of showing the relevance of overlapping Bendix and post-

 petition settlement claims. See Thuy Vo v. Gilmore, No. 18-1364, 2019 WL 7049913, at *2 (W.D.

 Pa. Dec. 23, 2019) (“A party moving to compel discovery bears the initial burden of proving the

 relevance of the requested information.”). It has not met that burden in this motion or otherwise.

 Nor could it. Claims settled under post-petition settlement agreements are governed by those

 agreements, not the TDP, which had not yet been adopted.

        21.     Contrary to the Trust’s representations, Honeywell has offered to produce much

 more than “documents relating to only approximately 5,000 Bendix plaintiffs that also filed a

 NARCO claim.” As explained in detail above, it has produced or agreed to produce tens of

 thousands of documents, as well as access to data, relating to all 40,000 overlapping

 Bendix/NARCO claims.

        22.     Honeywell acknowledges the relevance of some Bendix-related information, but

 that hardly means all Bendix materials are a “central pillar of its complaint.” In identifying

 inconsistencies with claims submitted to the NARCO Trust, Honeywell used its Bendix database

 only to identify individuals who both submitted claims to the NARCO Trust and brought a Bendix

 claim, after which Honeywell obtained materials relating to those Bendix-matched claimants from

 local Bendix counsel. Honeywell has offered to provide the Trust access to all 40,000 overlapping

 claims. That does not render the remaining 210,000 Bendix claims that have nothing to with

 NARCO relevant—let alone “central”—to the issues in this case.




                                                13
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                   Desc Main
                                 Document    Page 14 of 20



        23.     The Trust incorrectly insists that the production of information relating to all

 250,000 Bendix claims is not burdensome because the Trust has requested this information before.

 As already explained, Honeywell is producing documents relating to all 40,000 overlapping

 claims, as well as access to the database for those claims. If, as the Trust submits, it previously

 requested this information “for the purpose of informing its claims processing,” Honeywell’s

 current offer fulfills that purpose. The fact that the Trust has previously requested Bendix material

 does not make it practical or feasible for Honeywell to collect, review, and produce documents

 relating to the remaining 210,000 Bendix claims unrelated to NARCO during the expedited

 discovery period.

        24.     The Trust’s objections to the database extract are also unfounded. First, the Trust

 misunderstands what Honeywell meant by “relevant” data fields. The extract includes database

 fields that Honeywell uses in the ordinary course and believes include claimant data, but excludes

 technical, system-related, or internal processing fields. Honeywell has also agreed to produce a

 list of fields in the extract, including those withheld for privilege or attorney work product, as well

 as a list of fields that Honeywell does not use in the ordinary course. If the Trust objects to any of

 the withheld fields, the parties can meet and confer. Second, Bendix settlement values are not

 relevant to the issues in this litigation. Honeywell identified overlapping Bendix claims solely for

 the purpose of assessing inconsistencies in the exposure evidence provided to the NARCO Trust.

 The amount a particular Bendix claimant was paid to resolve a claim in the tort system says nothing

 about whether the evidence that same claimant submitted to the NARCO Trust meets the

 requirements of the TDP. And given the sensitive nature of this information and its irrelevance to

 this litigation, there is no reason to produce that information to the parties in this case, which




                                                   14
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                 Desc Main
                                 Document    Page 15 of 20



 include plaintiffs’ attorneys who pursue asbestos claims against Honeywell and other defendants

 in the tort system.

        25.     As Honeywell previously explained, it is willing and plans to provide the Trust with

 its expert analysis regarding the sampling process for the 5,000 claims at the designated time for

 expert disclosures. The Trust will then have the opportunity to review that expert analysis and

 depose the expert during the expert discovery period.

        26.     The Trust’s motion to compel the production of “the Bendix Materials in their

 entirety” is not reasonable or proportional to the needs of this case. Honeywell has already

 provided the Trust with substantial information about and from the Bendix database to the extent

 relevant to this case, and the Trust fails to explain why that information is insufficient or

 inadequate, especially given the compressed schedule of this litigation.

    B. Honeywell Has Produced Material Relating to Dr. Francine Rabinovitz’s Report.

        27.     Honeywell admits that Honeywell filed the expert declaration from Dr. Rabinovitz

 in support of a plan of reorganization for NARCO. Using NARCO’s experience in the tort system

 and other assumptions detailed in her report, Dr. Rabinovitz estimated the number and value of

 claims the NARCO Trust would pay through 2050. She concluded that “[t]he discounted value

 for future qualifying claims ranges from $0.55 billion to $1.29 billion, using a net discount rate of

 3%” and “the undiscounted value of these claims ranges from a low value of $0.98 billion to a

 high value of $2.28 billion.” Trust Ex. 15 (Decl. of Dr. Rabinovitz ¶ 6).

        28.     As the Trust’s motion indicates, Dr. Rabinovitz’s expert declaration and report

 thoroughly identifies and explains the bases of her conclusions regarding NARCO liability.

        29.     Honeywell agrees that Dr. Rabinovitz’s report does not state that claims supported

 by “form affidavits” would not be paid, or that the “TDP had more stringent evidentiary

 requirements than the tort system or NARCO’s settlements.” But that observation is neither


                                                  15
Case 21-02097-TPA        Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                    Desc Main
                                Document    Page 16 of 20



 surprising nor does it support the Trust’s motion. Dr. Rabinovitz based her estimates on NARCO’s

 experience in the tort system; she was not asked to, nor did she opine on what types of evidence

 the NARCO Trust could consider under the TDP’s requirements. There is simply no basis for the

 Trust to suggest that discovery from Dr. Rabinovitz would be probative as to what type of evidence

 is acceptable under the TDP.

        30.     In its motion, the Trust suggests for the first time that it needs discovery relating to

 Dr. Rabinovitz’s report to defend the Trust’s acceptance of form and check-the-box affidavits.

 The Trust fundamentally misunderstands the nature of Dr. Rabinovitz’s report. As the Trust

 admits in the prior paragraph, Dr. Rabinovitz did not opine as to the types of evidence that the

 Trust would accept. For purposes of the calculations used in the report, she simply assumed that

 the Trust would pay claimants at a rate similar to the rate NARCO paid in the tort system. In order

 to confirm that the documents collected from Dr. Rabinovitz in 2015 do not bear on the question

 of “form affidavits,” Honeywell electronically searched those materials for documents containing

 the terms “form affidavit” and “check-the-box.” Neither returned any hits.

        31.     As outlined above, Dr. Rabinovitz’s report itself explains in detail how she

 calculated the estimates and sets forth her underlying assumptions. Dr. Rabinovitz did not evaluate

 what type of evidence would be acceptable under the TDP in making her estimate. The Trust has

 not substantiated a need for further discovery on this point.

        32.     The Trust insists that its requests are not burdensome or disproportionate given the

 relevance of what it calls “the Rabinovitz Materials.” The Trust’s relevance arguments are

 unpersuasive because, as illustrated by the report itself, Dr. Rabinovitz did not consider what types

 of evidence the Trust could accept when she made her projections.




                                                  16
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                 Desc Main
                                 Document    Page 17 of 20



        33.     There is nothing illogical about the fact that Honeywell does not have a full set of

 materials related to an expert report issued in 2006. Dr. Rabinovitz did not previously identify

 reliance materials in the bankruptcy, and her files in Honeywell’s possession do not otherwise

 indicate what, if anything, constitutes reliance materials. The Trust points to “representations”

 made by Honeywell’s counsel at McDermott Will & Emery (MWE), but it fails to cite any

 document where MWE stated that it had located and agreed to produce Dr. Rabinovitz’s reliance

 materials. And as Honeywell has explained to the Trust, the materials that MWE collected in 2015

 do not contain readily identifiable reliance materials.

        34.     The Trust does not identify any support for its claim that MWE located Dr.

 Rabinovitz’s reliance materials. All the Trust cites is a 2016 letter from the Trust’s counsel, which

 notes that at the time “[MWE] had not yet thoroughly evaluated the volume of material [it]

 collected from Dr. Rabinovitz and so [it] had not yet made a determination on the search term

 issue.” Trust Ex. 16 (3/25/16 M. Freimuth Ltr. to A. Kratenstein at 1). The Trust appears to be

 asking now, for the first time, for all the material collected in 2015. Late-breaking, overbroad

 requests like this are inappropriate. The Trust asserts that the material may be responsive to its

 Request for Production No. 2, which sought documents “concerning NARCO claim projections,

 estimates, or analyses provided to or relied upon by [Honeywell] in connection with [its] SEC

 filings.” Trust Ex. 2 (Trust Second Set of Requests for Production at 11). The Trust’s citation to

 its Second Request No. 2 is misleading. That request sought material from 2017 to the present.

 Id. at 6 (“Unless otherwise indicated, the time period covered by these Requests for Production is

 January 1, 2017, to the date of [Honeywell’s] response.”). The documents MWE collected in 2015

 (and which were, by definition, generated before then) are outside the relevant time period and are

 not responsive. Even if the material were responsive, Honeywell cannot simply turn it over




                                                  17
Case 21-02097-TPA         Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                 Desc Main
                                 Document    Page 18 of 20



 without review. Dr. Rabinovitz was an expert consultant to Honeywell for many years and

 performed numerous analyses at the direction of counsel and therefore many of her documents are

 likely to be privileged or attorney work product. To be clear, Honeywell has otherwise fulfilled

 its discovery obligations with respect to the Trust’s Second Request No. 2 by searching the files

 of its internal employees responsible for preparing Honeywell’s public filings where Honeywell

 accrues for the NARCO liability, and it has produced responsive, non-privileged material. In

 response to this and other requests, Honeywell has also produced its internal employees’ non-

 privileged discussions of Dr. Rabinovitz’s report.

        35.     Honeywell has already produced the work papers it identified in the documents

 collected from Dr. Rabinovitz.

    C. Honeywell Is Producing What the Trust Requested With Respect to the NARCO
       Post-Petition Settlement Files.

        36.     Honeywell’s post-petition NARCO settlements are not “highly relevant” to

 interpreting the TDP. Those agreements and the TDP are separate and distinct. But setting that

 issue aside, the Trust’s insistence on access to potentially thousands of archived boxes of

 documents in the limited period available for discovery is not proportionate to the needs of this

 case. The Trust already has the post-petition settlement agreements, and it is able to assess the

 terms and standards contained in those agreements as compared to the TDP.

        37.     Honeywell has agreed to provide the Trust what it requested in its January 18, 2022

 email: digitized files from 55 boxes containing post-petition materials. Given the time constraints

 facing the parties, it is not feasible or practical for Honeywell to review those files for privilege

 and PII, which is why Honeywell asked that the Trust enter into a separate confidentiality

 agreement to ensure that information remains protected, but the Trust is inexplicably unwilling to

 consider that compromise. The Trust also objects to Honeywell’s suggestion that its production



                                                  18
Case 21-02097-TPA          Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36                    Desc Main
                                  Document    Page 19 of 20



 of 55 boxes of materials should satisfy the Trust’s request on this score. Again, given the time

 constraints in this case, the Trust has to be reasonable and practical in the discovery it presses.

 Trial is set to begin in less than four months, and it is not the time to pull, review, digitize, and

 produce over 3,300 archived boxes of irrelevant (or, at best, minimally relevant) paper documents.

         38.     The Trust’s insistence that the parties’ Protective Order is sufficient to protect

 Honeywell’s privilege and claimants’ personal information is without basis. As already explained,

 the Protective Order by its terms covers only the inadvertent disclosure of privileged information,

 but here Honeywell reasonably believes that the material the Trust seeks contains privileged

 information. Given the time constraints, Honeywell is willing to forgo review of the material in

 favor of producing it promptly, subject to a supplemental confidentiality agreement that ensures

 that Honeywell’s privileged information and claimants’ personal information in these files remains

 secure. It is not clear to Honeywell why the Trust is not amenable to such an agreement.

         39.     Honeywell continues to believe that the Trust’s request for 55 boxes is not

 proportional to the needs of this case, especially given the minimal relevance of this material and

 the relatively short window before this case is to proceed to trial. Honeywell is nevertheless

 working to produce this material to the Trust. Honeywell cannot, however, continue to field

 additional requests for an unspecified amount of additional post-petition settlement material on the

 current schedule.

         40.     As Honeywell has already explained, the information that the Trust seeks is

 irrelevant to the issues in this litigation, and the fact that the Trust has previously requested it is of

 little to no persuasive value.

                                            CONCLUSION

         41.     The Trust’s motion to compel is unnecessary and unwarranted. Honeywell has

 been producing and will continue to produce a reasonable set of materials that are responsive to


                                                    19
Case 21-02097-TPA          Doc 250 Filed 02/03/22 Entered 02/03/22 11:29:36               Desc Main
                                  Document    Page 20 of 20



 the Trust’s requests. But given the compressed timeline, the Trust should be practical and work

 in good faith with Honeywell to identify a targeted set of the most relevant material for production

 on a sensible timeline and in a secure manner. The Court should deny the Trust’s motion.Dated:

 February 3, 2022


 KIRKLAND & ELLIS LLP                                 MCDERMOTT WILL & EMERY LLP

 Craig S. Primis, P.C.                                Peter John Sacripanti
 (admitted pro hac vice)                              NY State Bar No. 1970581
                                                      NJ State Bar No. 026281984
 Ronald K. Anguas, Jr.                                D.C. Bar No. 414801
 (admitted pro hac vice)                              (admitted pro hac vice)

 1301 Pennsylvania Avenue, N.W.                       John J. Calandra
 Washington, D.C. 20004                               NY State Bar No. 2473601
 Telephone: (202) 389-5000                            (admitted pro hac vice)
 Facsimile: (202) 389-5200
                                                      One Vanderbilt Avenue
 Mark McKane, P.C.                                    New York, New York 10017-3852
 (admitted pro hac vice)                              Telephone: (212) 547-5400
                                                      Facsimile: (212) 547-5444
 555 California Street
 San Francisco, CA 94104                              QUINN, BUSECK, LEEMHUIS, TOOHEY & KROTO, INC.
 Telephone: (415) 439-1400
                                                      /s/ Michael P. Kruszewski
 Nicole L. Greenblatt, P.C.                           Michael P. Kruszewski
 (admitted pro hac vice)                              (Pennsylvania Supreme Court ID #91239)

 601 Lexington Avenue                                 Arthur D. Martinucci
 New York, NY 10022                                   (Pennsylvania Supreme Court ID #63699)
 Telephone: (212) 446-4800
                                                      2222 W. Grandview Blvd.
                                                      Erie, Pennsylvania 16506
                                                      Telephone: (814) 833-2222
                                                      Facsimile: (814) 833-6753
                                                      amartinucci@quinnfirm.com
                                                      mkruszewski@quinnfirm.com

                              Counsel for Honeywell International Inc.




                                                 20
